

Matter of McKell K. (Angel B.) (2025 NY Slip Op 01473)





Matter of McKell K. (Angel B.)


2025 NY Slip Op 01473


Decided on March 14, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 14, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., MONTOUR, OGDEN, NOWAK, AND KEANE, JJ.


103 CAF 22-02015

[*1]IN THE MATTER OF MCKELL K., JR.
 ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT;andANGEL B., RESPONDENT-APPELLANT. (APPEAL NO. 3.) 






CHARLES J. GREENBERG, AMHERST, FOR RESPONDENT-APPELLANT.
JULIE VILJOEN, BUFFALO, FOR PETITIONER-RESPONDENT.
DAVID C. SCHOPP, THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (ROXANNA Q. HERREID OF COUNSEL), ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Erie County (Sharon M. LoVallo, J.), entered October 11, 2022, in a proceeding pursuant to Family Court Act article 10. The order, inter alia, determined that respondent had neglected the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Maliah B. (Angel B.) ([appeal No. 1] — AD3d — [Mar. 14, 2025] [4th Dept 2025]).
Entered: March 14, 2025
Ann Dillon Flynn
Clerk of the Court








